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         DECLARATION OF
          TIM SCHUMANN
          ISO GOOGLE’S
          OPPOSITION TO
            PLAINTIFFS’
           MOTION FOR
            SANCTIONS

        Redacted Version
      of Document Sought
          to be Sealed
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 8                           UNITED STATES DISTRICT COURT

 9           NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

10

11 PATRICK CALHOUN, et al., on behalf of            Case No. 5:20-cv-5146-YGR-SVK
   themselves and all others similarly situated,
12                                                  DECLARATION OF TIM
          Plaintiffs,                               SCHUMANN IN SUPPORT OF
13
   v.
14
                                                    SANCTIONS
15 GOOGLE LLC,

16          Defendant.

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                                                           Case No. 5:20-cv-5146-YGR-SVK
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 1          I, Tim Schumann, declare as follows:

 2          1.     I am an Engineering Manager at Google in Munich, Germany. I have been

 3 employed at Google for the past 13 years. I lead a team of 41 engineers responsible for the

 4 Chrome browser in general, including the Chrome browser sync infrastructure in particular.

 5 As

 6 as they relate to Chrome sync, and with the Chrome sync logging infrastructure specifically.

 7 Except where otherwise indicated, I make this declaration based on my own personal

 8 knowledge and could competently testify thereto.

 9          Deposition

10          2.     In May 2021, I learned that Plaintiffs wanted to take my deposition. I

11 understand that German law does not permit remote video depositions, and I could therefore

12 not sit for the deposition in Munich. Due to travel restrictions and health precautions

13 associated with the global COVID-19 pandemic, I could not travel to the USA for my

14 deposition.

15          3.     In July 2021, I understood that Plaintiffs had proposed I travel to Zurich,

16 Switzerland for a remote deposition. At that time, I was prepared to travel to Switzerland for

17 my remote deposition during the pandemic.

18          4.     On September 13, 2021, I reviewed a Rule 30(b)(6) deposition notice from

19

20

21                                                                               ignee for topics

22

23

24                                                         response to Topic 3 above, what logs

25 or datapols contain such information, including but not limited to sync traffic logs, and how

26 fields containing such information can be identified, isolated, searched, and whether such

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 1 data can be extracted and joined

 2

 3          5.      On September 23, 2021, I learned that Plaintiffs wished to take my deposition

 4 in advance of October 14, 2021, when their class certification motion was due. At that time,

 5 I was prepared to travel to Switzerland for my remote deposition to be completed in advance

 6 of October 14, 2021.

 7          6.      On October 1, 2021, I learned that the Swiss authorities had approved my

 8 deposition in Zurich, Switzerland. I made arrangements to travel to and stay in Zurich,

 9 Switzerland to be available for my remote deposition on October 8 or October 11, 2022.

10          7.      On October 5, 2021, I learned that Plaintiffs had decided to no longer take

11 my deposition before October 14, 2021 and were planning to take it within the next two

12 months.

13          8.      Plaintiffs ultimately did not take my deposition until January 13, 2022.

14          9.      At my deposition, Plaintiffs asked a series of questions related to signals

15 indicating whether a user has disabled sync for Chrome browsing history, or not enabled

16 sync for Chrome browsing history. As I explained at my deposition, Chrome servers only

17

18 261:11-                                      -252:10), (see Figure 1 below). The type of data

19 uploaded to Chrome sync servers depends on individual user settings. Once a user turns sync

20 on, there are a number of categories for which the user can enable or disable the sync feature.

21 As shown in Figure 1, on desktop those categories are: apps, bookmarks, extensions, history,

22 settings, themes, reading list, open tabs, passwords, addresses, and payment methods

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 1          Figure 1

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18          Sync Signals

19          10.    I understand Plaintiffs now claim that Google can identify who is synced and

20 not synced, and precisely when they were in each sync-state using sync signals only admitted

21

22          11.    Internally, Google discusses Chrome Sync traffic events by referencing

23 'clients,' i.e., an installation of Chrome on a device. Chrome Sync is designed to permit a

24 user to sync multiple Chrome clients. A common example would be syncing Chrome on a

25 phone and a desktop. A user may be associated with multiple Chrome clients. A device can

26 also contain multiple Chrome clients associated with one or more users. The sync signals

27 i.e.                                       are only sent from Chrome browsers to Chrome

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 1 servers when a user is (1) signed into their Google account in the Chrome browser (on the

 2

 3                                                                                             ple,

 4 signed in to Gmail). If a user is not signed into their Google account on the browser and in

 5 the content area, or does not have a Google account, then no sync signals are sent from the

 6                                 In addition, disabling sync is a browser client-side action that

 7 is not always visible server-side (i.e., to Google).

 8          SyncDisabledEvent Signal

 9          12.     I discussed the                       signal at length during my deposition on

10                                                                            -217:217:6. Counsel

11 did not ask whether this signal was known by other names. As publicly disclosed in the

12 Chromium issue tracker,1 the                           signal was introduced in 2015. Publicly

13 available source code describes two different reasons for the                             to be

14 emitted.

15 // The Sync engine is being stopped with the expectation that it will be
     // started again for the same user before too long, so any Sync metadata
16 // should be kept. An example is content-area signout while Sync-the-
     feature
17 // is enabled.
     STOP SYNC AND KEEP DATA,
18
     // The Sync engine is being stopped with the expectation that it will *not*
19 be

20 // started again for the same user soon, or with the explicit intention of
     // clearing Sync metadata. Examples include signout while only
21   // Sync-the-transport is active, the "Turn off" button in settings for
     // Sync-the-feature users, and clearing data via the Sync dashboard.
22   DISABLE SYNC AND CLEAR DATA,

23          13.     The                      signal is a best-effort signal that the sync transport
24 layer has                                         -
25 of success that it will communicate each time sync has been turned off. In other words, the

26 presence of the signal on Chrome servers does not indicate that a user disabled sync. For

27
     1
28    chromium issue tracker, available at
     https://bugs.chromium.org/p/chromium/issues/detail?id=419552.
                                                   -5-      Case No. 5:20-cv-5146-LHK-SVK
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 2 sync transport layer can be stopped for users who do not have sync enabled. Because the

 3 sync transport layer can be stopped without the user turning off sync, observing

 4                      server-side does not mean that the user took an action to turn off sync.

 5          14.

 6 stop signals, because the                          requires a valid authentication token, a user

 7 can turn off sync without a                             being sent out. See Tr. 215:1-2:17:6. The

 8 order of invalidating the authentication token and the attempt to send out a

 9                      is not well defined and can change as a side effect of other code changes.

10 The following are additional examples when sync gets disabled, in whole or in part, but the

11                      signal is not recorded:

12                 a.        a user was not signed into the content area and stops sync (also

13

14                 b.        a user disables sync for any, multiple, or all of the Categories;

15                 c.

16 common action for users running low on Android storage); and

17                 d.        a user factory resets their device.

18          Therefore, the                        Signal is not a reliable signal to identify clients

19 that have disabled sync.

20          15.    On the evening of March 2, 2022 and early March 3, 2022, as I was verifying

21 the responses to Interrogatory Nos. 28, 31-34, I noticed that the responses did not specify

22

23 response to that Interrogatory to include the                          signal, which I understand

24 was submitted to Plaintiffs on March 4, 2022. 2

25
     2
26                                   y                                             r is signed
   in to a Chrome browser, and signed in to a Google website, and did not have sync enabled
27 on the Chrome browser, then Chrome may send a bit that is stored in the
                                                                            field in
28                                                                               y
                                                                           -19. The response
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 2          16.    In the first half of 2018, Google started what is internally referred to as the

 3

 4                                                                            . See Jan 13, 2022

 5 Schumann Dep. Tr. at 27:12-29:23. For example, after           was launched, users who were

 6 signed into their Google account and the Chrome browser would be able to easily access

 7 their payment information from Google Pay without having to enable the sync feature. See

 8 id. Notably, Chrome browsing history is not sent to Chrome servers under the

 9 program.

10          17.

11 and the Chrome browser and do not turn on sync. Id. at 31:5-32:18. This is different from a

12 user who is both signed in and synced and turns off the sync feature.

13          18.    The        signal, denoted as sync_feature_enabled = false in our traffic logs

14 and which Google began recording in early 2019, does not indicate every time a signed-in

15 user is browsing without syncing their device. See id. 31:17-32:9. For example, if a user

16 signs into their Google account, but does not sign into the Chrome browser (on desktop

17                                                                   rome sign-

18 continues browsing without enabling sync, the                signal would not be recorded.

19 Additionally, if sync is turned on, but disabled for each of the Categories, this user is not

20 actually syncing any of the browser activity on their device, yet their traffic would not be

21

22
                                                                                     nt to the
23 Chrome sync server identifying when a user is signed in to a Chrome browser, and signed
   in to a Google website, and did not have the sync feature enabled on the Chrome browser is
24                                      Id. at 19-20. Google supplemented each of these

25
   effort communication with no guarantee of success. The signal i
26                                -    -
   clears the sync data associated with that Google Account or deletes that Google Account.
27 The signal is also recorded in                            Id. 19, 20.

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 1 marked as             state; the logs will record sync_feature_enabled = true. See id. Or, if a

 2 signed-in user never turned on sync on one device, such as their mobile device, but had

 3 turned on sync on other devices, such as a laptop, the            signal would be recorded as

 4         for the mobile device.

 5          The Universe of Users Who Browse On Chrome While Not Synced Is Diverse

 6 And Not Identified in Chrome Logs

 7          19.      Even taken together, the                      signal and the          signal do

 8 not record the set of Chrome users who are browsing on Chrome without enabling the sync

 9 feature. As explained in Paragraphs 12-15, the                        signal records some (but

10 not all) clients that were browsing while synced but then turned off sync. As further

11 explained in Paragraph 13, the signal is also recorded for clients which never had sync turned

12 on or where the user never turned sync off. As explained in Paragraph 18, the              signal

13 records some (but not all) users who are browsing while signed into their Google Account

14 but have not enabled the sync feature. These two signals are not mutually exclusive, a

15

16 servers in a very close timespan. These two signals taken together will not reliably record at

17 least the following types of users who browse on Chrome without turning on sync:

18                a. users without a Google Account;

19                b. users that used to have sync enabled and deleted their Google Accounts;

20                c. users who sign out of their Google Account (without turning off sync first);

21                d. users who sign into their Google Account (but sign out of their Chrome

22                browser); and

23                e. users who fall under the scenarios in Paragraphs 14(a) through (d).

24          20.      To the best of my knowledge, there is no log or set of logs that reflect the

25 unsynced browser state of all Chrome users, and therefore Google cannot identify the

26 universe of users browsing without the sync feature enabled nor determine the total number

27 of users browsing without the sync feature enabled.

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